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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :   CRIMINAL NO. 21-mj-00434
                                                  :
             v.                                   :   VIOLATION:
                                                  :
 JAMES BREHENY,                                   :   COUNT 1:
                                                  :   18 U.S.C. §§ 1512(c)(2), 2
                   Defendant.                     :   (Obstruction of an Official Proceeding and
                                                  :   Aiding and Abetting)
                                                  :

                                       INFORMATION

       The United States Attorney charges that:

                                       COUNT ONE
                                 (18 U.S.C. §§ 1512(c)(2), 2)
              (Obstruction of an Official Proceeding and Aiding and Abetting)

       On or about January 6, 2021, within the District of Columbia and elsewhere, JAMES

BREHENY attempted to, and did, corruptly obstruct, influence, and impede an official

proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of the

Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United

States and 3 U.S.C. §§ 15-18.

              (In violation of Title 18, United States Code, Sections 1512(c)(2), 2)

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052

                                     By:
                                             Kathryn L. Rakoczy
                                             D.C. Bar No. 994559
                                             Troy A. Edwards, Jr.
                                             Alexandra Hughes
                                             Jeffrey S. Nestler
                                             Assistant United States Attorneys
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               By:       /s/ Louis J. Manzo
                     Louis J. Manzo
                     Massachusetts Bar No. 688337
                     Trial Attorney, United States Department of Justice
